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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. MCMILLEN2016 OK 122Case Number: SCBD-6469Decided: 12/12/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 122, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

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State of Oklahoma ex rel. Oklahoma Bar Association, Complainant,
v.
Mary E. McMillen, Respondent.



ORDER OF IMMEDIATE INTERIM SUSPENSION


¶1 The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Informations, and Pleas, in which Mary E. McMcMillen entered pleas in Cherokee County as follows: 1) a plea of no contest to one count of Driving Under the Influence Aggravated, a misdemeanor in violation of 47 O.S. Supp. 2012, § 11-902(D); 2) a plea of no contest to one count of Transporting an Open Container of an Intoxicating Beverage, a misdemeanor in violation of 21 O.S.2011, § 1220(A); and 3) a plea of no contest to one count of Operating a Vehicle while Drivers' License is Suspended, a misdemeanor in violation of 47 O.S. Supp. 2015, § 6-303(B.1). All of these offenses occurred on September 25, 2015. The OBA also forwarded a certified copy of the deferred sentences of two years on each count in Cherokee County, all counts concurrent to each other and to a separate count in Wagoner County.

¶2 The OBA has also forwarded certified copies of the Criminal Information and Plea in the Wagoner County case, in which Mary E. McMillen entered a plea of guilty to a reduced charge of misdemeanor Driving Under the Influence in violation of 47 O.S. Supp. 2012, § 11-902. The OBA also forwarded a certified copy of deferred sentence of eighteen-months to the count in Wagoner County, concurrent to the Cherokee County sentence.1

¶3 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Ian Mary E. McMillen is immediately suspended from the practice of law. Mary E. McMillen is directed to show cause, if any, no later than December 23, 2016, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until January 3, 2017, to respond.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Mary E. McMillen has until January 19, 2017, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until February 6, 2017, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT on December 12, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



FOOTNOTES


1 The descriptions of the sentences as consecutive and concurrent is inconsistent. McMillen's sentence in Wagoner County is deferred until May 8, 2018, and her sentence in Cherokee County is deferred until November 17, 2018, so they appear to be concurrent.








	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Title 21. Crimes and Punishments
&nbsp;CiteNameLevel

&nbsp;21 O.S. 1220, Transporting Open Containers of Intoxicating Beverages or Low Point Beer - Exception - PenaltyCited
Title 47. Motor Vehicles
&nbsp;CiteNameLevel

&nbsp;47 O.S. 11-902, Persons Under the Influence of Alcohol or Other Intoxicating Substance or Combination ThereofDiscussed
&nbsp;47 O.S. 6-303, Driving While License Under Suspension or Revocation - Penalties - MotorcyclesCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
